Case 1:03-md-01570-GBD-SN Document 4692-2 Filed 07/17/19 Page1lof3

EXHIBIT B
Case 1:03-md-01570-GBD-SN Document 4692-2 Filed 07/17/19 Page 2 of3

(i

Case 1:18-cv-11878-GBD-SN Document 12 Filed OB/;
DOCUMENT

UNITED STATES DISTRICT COURT SS FILED
SOUTHERN DISTRICT OF NEW YORK DATED:

Rivelli et al.

CERTIFICATE OF MAILING

Islamic Republic of Iran Case No.; _18CV11878 (GBD) (SN)

I hereby certify under the penalties of perjury that on the 27th day of March, 2019 I served:

Minister of Foreign Affairs, Ministry of Foreign Affairs of the Islamic Republic of Iran at Iman Khomeini
Avenue. ATTN: Mohammad Javad Zarif

CO the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c)(ii).

O the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608(a)(3).

XI] the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRI), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608(a)(4).

L] the head of the agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

2___ copy(ies) of the Summons, Complaint deemed filed on December 17, 2018, Civil Cover
Sheet, Notice of Suit prepared in accordance with 22 CF § 93.2 with a copy of 28 U.S.C. 1330, Affidavit

of Translator (Along with translations of the above documents)
by Fedex Tracking # 8138 7042 2554

Dated: New York, New York
March 27, 2019 PeDas
RyBY., KRAIICK’

che ERR C OF, Court,

’
y : y 1

"ahaa Mien: 2
DERUTY FRERE a

ve

me

7 Ne is
end |

)

Case 1:03-md-01570-GBD-SN Document 4692-2 Filed 07/17/19 Page 3of3

1 ‘

Fedex. Package ite
express USAirbill  @L38 7O4e C454 H
1 From Posse pristand press hard. senda’ FedEx ‘6 D |p 3 - -| 5 Y : | - 9 4 Express Package Service —«imerttocetoe. mae

fedex.com 1800.GoFedEx 1.800.463.3339

Acc ;
Clerk of the Court; Ruby J. Krajick

Se ee pied) peed
FedEx t2Day AM,
Sreauny Dany COT nantes

Pct ue Be

Fesibs Fast Qverreait to subect
fpensane Py hymns Eageainied on

ames U.S. District Court Phone ( } _

GPRCE OF
earn Southern District of New York / ype clegle
Aidrose DOO Pearl Street ee
cy New York state NY mp +0007

2 Your Internal Billing Reference 101147-JPOOBtiaNAL

eset ea EsEEA222Y santa
seenee 7 pablo os
oO irvtowct Overmight oO FodEx Express Saver
satel, Snlurday Onlivery 10T nvaleble.
5 Packaging — «drcsmivitvennnss.
" . ‘ FedEx FedEx
FedEx Envelope (L] Fedex Pak’ oO hex o Tube

First ohavatiers wl appear cn
3 To Secretary of State 6 Special Handling and Detivery Signature Options ressmersprly.6ve
Rebeettn: Dir. of Consular Serviges 202-736-9110 7 seumdeybetiory sara ats wre
Indirect £
Company Office of Policy Review and Inter-AGency Liapon oO Naone ewer’? oO ST an gece
U.S. Department of State Hold Weekday tesa de
eaten an Does this shipment contain dangerous goods?
Address SA-29 4th Floor oes ‘One box myst be checked. ———————
We cannot deliver i PO, Downs or RO, 21P bodes, DeptiibodiSuiaoom Hol Sat Cw © orectas O Gc oeinte 7 BEV Seas seas
Address 2201 C Street NW oO ean ction apa rh 7} Cargo Afren
Usa tit Ene forthe HOLD foanton ad ter your shipping add
7 Payment Biifto:
Chy Washington State DC 2IP 20520 j——— Ener Fale cs to. No. bolovw

SEL oc [] Reelplent  ((] Thiet Panty [7] CreditCord
met 63 93-SHOY-G sg

Coudh Carita,
TotalPackages Total Waight Total Declared Veluet

he.

S- aqo- seo TOS Seay = me

‘Date 11° Far di600re «QUOT Tih FedEx * PMNTED WEA, RRDA CWO
